        Case 2:17-cv-04885-CJB-KWR Document 30 Filed 09/06/19 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

HAROLD SEALS, RENWICK CLIVENS,                   )
LOUIS ROACH, NORMAN JACKSON,                     )
JEFFREY HENDERSON, and RODNEY                    )
BRIDGES,                                         )
                                                 )
                Plaintiffs,                      )
                                                 )           CIVIL ACTION NUMBER:
v.                                               )            2:17-cv-04885-CJB-KWR
                                                 )
RAY BRANDT NISSAN, INC.,                         )
                                                 )
                Defendant.                       )

                              JOINT STIPULATION OF DISMISSAL

         COME NOW, Defendant and Plaintiffs by and through the undersigned counsel and

request that this Court dismiss with prejudice the above-styled cause with each party to bear their

own attorneys' fees, costs and expenses.

         Respectfully submitted this the 6th day of September, 2019.

s/ Albert L. Vreeland, II                        s/ G. Karl Bernard
Albert L. Vreeland, II ASB-0066-V78A             G. Karl Bernard, Esq. (Bar No. 24294)
Pro Hac Vice                                     G. Karl Bernard & Associates, LLC
LEHR MIDDLEBROOKS VREELAND &                     1615 Poydras Street, Suite 220
      THOMPSON, P.C.                             New Orleans, LA 70112
P.O. Box 11945                                   (504) 412-9953
Birmingham, Alabama 35202-1945                   Fax: (504) 412-8088
(205) 326-3002                                   Email: karl.bernard@karlbernardlaw.com
Fax: (205) 326-3008
Email avreeland@lehrmiddlebrooks.com             Attorney for Plaintiffs

Mary Margaret Spell (Bar No. 32704)
Jones Walker LLP
201 St. Charles Avenue
New Orleans, Louisiana 70170-5100
Phone: (504) 582-8262
Fax: (504) 589-8262
Email: mspell@joneswalker.com
Attorneys for Defendant
653603.docx
